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                      15
                                                         UNITED STATES DISTRICT COURT
                      16
                                                      NORTHERN DISTRICT OF CALIFORNIA
                      17
                                                                 SAN JOSE DIVISION
                      18
                      19   RUMBLE, INC.,                                 Case No.
                      20                           Plaintiff,            COMPLAINT FOR DAMAGES
                      21                                                 AND INJUNCTIVE RELIEF DUE
                           v.                                            TO ANTITRUST VIOLATIONS
                      22
                           GOOGLE LLC and DOES 1-10,
                      23   inclusive,
                      24                           Defendants.
                      25
                      26            For its complaint against defendant Google LLC (“Google” or “Defendant” ),

                      27   plaintiff Rumble, Inc. (“Rumble” ) alleges as follows:

                      28   ///
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                       1                                        INTRODUCTION
                       2            1.       Rumble brings this action under Sections 1 and 2 of the Sherman Act,
                       3   (15 U.S.C. §§ 1 and 2), and Sections 4 and 15 of the Clayton Act (15 U.S.C. §§ 4
                       4   and 15), against Google for monetary damages well in excess of $2,000,000,000
                       5   that Rumble has sustained and continues to sustain as a proximate result of
                       6   Google’s antitrust violations, and for injunctive relief to prevent Google from
                       7   continuing unlawfully to maintain its monopoly in the relevant market –online
                       8   video-sharing platforms –through anticompetitive and exclusionary practices.
                       9            2.       These practices include Google rigging its search algorithms
                      10   purposefully and unlawfully to always give preference to Google’s YouTube video-
                      11   sharing platform over Rumble (and other platforms) in Google search results, such
                      12   that the Google search page result for online videos lists links to the YouTube site
                      13   as the first search results, even if the search specified Rumble, such as “dog videos
                      14   on rumble.”
                      15            3.       By unfairly rigging its search algorithms such that YouTube is the
                      16   first-listed links “above the fold” on its search results page, Google, through its
                      17   search engine, was able to wrongfully divert massive traffic to YouTube, depriving
                      18   Rumble of the additional traffic, users, uploads, brand awareness and revenue it
                      19   would have otherwise received.
                      20            4.       Google has also forced Android-based smartphone manufacturers to
                      21   include YouTube as a preinstalled app on their phones in order to acquire the right
                      22   to use the Android operating system, which constitutes an illegal tying
                      23   arrangement. This also has damaged and continues to damage Rumble by further
                      24   self-preferencing YouTube over Rumble (and other platforms, which harms
                      25   competition in addition to Rumble). Because much of the online searching for
                      26   videos is done on smartphones, this further ensures that Google’s YouTube
                      27   platform receives unfair preferential treatment. Google thus wrongfully acquired
                      28   and maintains a monopoly over the market for online video-sharing platforms.
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                       1            5.       Rumble is unique among video-sharing platforms in that it has an
                       2   extensive catalog of exclusively-assigned original content videos, thus
                       3   differentiating itself from other video-sharing platforms. Rumble receives between
                       4   $10 and $30 per thousand views of its exclusive videos on its platform, but when
                       5   that search traffic has been diverted to YouTube through Google’s wrongful
                       6   conduct, Rumble has received only forty-eight cents ($0.48) on average per
                       7   thousand views of its videos from YouTube. It is Google’s unlawfully acquired
                       8   monopoly power in the relevant market that has allowed it to pay so little, and keep
                       9   so much, of the advertising revenue.
                      10            6.       Unlike other websites or video-sharing platforms, Rumble, with its
                      11   thousands of high value exclusive video assets which it has syndicated to YouTube
                      12   (which have generated billions of views on YouTube), has the unique ability to
                      13   discover, track and determine its damages both on its exclusive and on its non-
                      14   exclusive catalog, which have been proximately caused by Google’s unlawful
                      15   conduct. Notably, this conduct is also in violation of Google’s own duplicate
                      16   content and original sourced reporting best practices which it purports to follow,
                      17   but evidently does not.
                      18            7.       Set forth below are screenshots (Figures 1 and 2) showing a recent
                      19   example of this unlawful self-preferencing by Google of its own video platform,
                      20   YouTube. The searched-for video is entitled “Baby preciously cuddles cat for nap
                      21   time.” It is a Rumble exclusive video, so Rumble is the original source for that
                      22   video. That title –“Baby preciously cuddles cat for nap time” –is verbatim how it
                      23   is listed on the Rumble platform. Because Rumble is the original source, it was
                      24   able to release the video to whom and when it chose. In this instance, to test
                      25   whether the Google search algorithms were rigged to give unfair preference to
                      26   YouTube, Rumble “handicapped” YouTube by releasing the video to
                      27   Google/YouTube last.
                      28            8.       Figure 1 demonstrates how Rumble provided the video to MSN and
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                       1   Yahoo prior to YouTube. Yahoo is listed first, followed by MSN and then
                       2   followed by multiple miscellaneous unrelated YouTube videos that do not contain
                       3   the title searched for. Significantly, MSN even provides a canonical URL referring
                       4   to Rumble’s original page, yet Google still lists its unrelated YouTube videos ahead
                       5   of Rumble.com’s listing. In fact, Rumble.com’s listing is nowhere to be found
                       6   despite all the credit, linkbacks, canonicals and submission to Google Webmaster
                       7   Tools that identified Rumble as the original source for this video.
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                                                                 Figure 1
                      28
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                       1            9.       Prior to the search shown in Figure 1, Google was made aware that
                       2   this “Baby preciously cuddles” video was a Rumble exclusive and original asset by
                       3   multiple means; for example, no webpages prior to Rumble had duplicate metadata,
                       4   MSN’s canonical URL pointed to Rumble.com as the original source; Yahoo also
                       5   references Rumble; there is even a linkback to the Rumble’s URL on the YouTube
                       6   video; and by an automatic sitemap submission to Google Webmaster Tools.
                       7   Pursuant to Google’s multiple different publicly stated policies, Rumble should
                       8   have been elevated in the search results (actually should have been listed first), and
                       9   even though the search was for the exact title for the video as on Rumble’s
                      10   platform, the Rumble platform is not even listed at all on the Google search page
                      11   for this specific video.
                      12            10.       Once the Rumble URL was documented to be indexed in Google
                      13   according to Webmaster Tools, and both Yahoo and MSN took the lead on the
                      14   search results, Rumble decided to provide YouTube the video with credit and
                      15   linkbacks to the Rumble.com website. As shown in Figure 2 below, which is a
                      16   screen shot of the Google search and search page results for the search on
                      17   November 24, 2020, about 2 hours after Figure 1 was taken, Google immediately
                      18   ///
                      19   ///
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                       1   gives the top listing to YouTube, de-ranks both Yahoo and MSN, lists a different
                       2   YouTube video in the 4th spot, and still avoids listing Rumble:
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                     20                                              Figure 2

                     21
                     22             11.      Amazingly, even though Rumble is the original source for this video,

                     23    even though Google was aware of that fact, even though the search term was

                     24    verbatim the title for the video as on Rumble’s platform, even though all sources

                     25    point back to Rumble as the original content source, and even though the video was

                     26    released to Google/YouTube last in time, the Google search results still listed

                     27    YouTube’s platform first, and doesn’t list Rumble at all on its first page of search

                     28    results.
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                       1                           RUMBLE AND THE SERVICE IT PROVIDES
                       2                           FOR INDIVIDUAL CONTENT CREATORS
                       3            12.      Since 2013, Rumble has operated an online video-sharing platform.
                       4   Today, Rumble is one of the most respected independent and privately owned
                       5   companies in the online video-sharing platform industry and market, and its
                       6   business model is premised upon helping the “little guy/gal” video content creators
                       7   monetize their videos.
                       8            13.      Video content creators upload their copyright-protected videos to the
                       9   Rumble platform (rumble.com or app), many of whom exclusively assign to
                      10   Rumble the licensing and enforcement rights in the uploaded video. Rumble in turn
                      11   makes the videos (“Rumble Videos” ) available under license to other companies
                      12   who have websites or other social media sites, and who want to make those videos
                      13   available to visitors to their sites in order to generate advertising revenue.
                      14            14.       Since its launch in 2013, Rumble Videos have received approximately
                      15   9.3 billion views worldwide just on YouTube alone according to YouTube’s
                      16   Analytics.
                      17            15.      The original author (the content-creator) of the video should be
                      18   compensated for the publication of his or her video. More often than not in the
                      19   past, however, he or she was not. This is where Rumble came and comes into the
                      20   picture.
                      21            16.      Rumble provides an important service to the untold number of “little
                      22   guy/gal” videographers who create the video content that is uploaded to the
                      23   internet, enjoyed by millions, and monetized by only a few. By themselves, these
                      24   individual content-creators cannot effectively monetize their videos, even those that
                      25   go “viral” and obtain millions of views within the first few days of being available
                      26   online.
                      27            17.      Rumble provides a platform for those individual content-creators to
                      28   monetize their copyrighted videos. By simply appointing Rumble as their exclusive
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                       1   licensee to their copyrighted video(s), and then uploading their video(s) to
                       2   Rumble’s platform, Rumble takes over and does all the rest. Rumble makes its
                       3   portfolio of exclusively-licensed videos available to others to use for a fee (and a
                       4   portion of the downstream revenue collected by the user), monitors that use,
                       5   collects the fee (and revenue), and shares it with the content-creator. There are
                       6   some individual content-creators who are receiving royalties in the 6-figures
                       7   annually, and many that are receiving annual 5-figure royalties from Rumble.
                       8            18.      Rumble’s platform and proprietary software sources, validates,
                       9   provides clearance management, distribution and monetization for video content.
                      10   It is a content-creator-centric platform, whose main goal and core business model
                      11   has always been to help video creators increase distribution and monetize their
                      12   videos. Rumble allows video creators to create channels, host, share, monetize and
                      13   distribute their video content from one centralized account on the Rumble platform.
                      14            19.      Rumble has working relationships with some of the most respected
                      15   video creators and Rumble licenses video content through its revenue-share video
                      16   player and, if licenses permit, through other video players to many very well-known
                      17   websites, including some of the largest and most well-known companies and
                      18   websites in the world.
                      19            20.      Rumble currently has more than 2 million amateur and professional
                      20   video content-creators that now contribute to more than 100 million streams per
                      21   month. Some of the top video content-creators use Rumble’s platform. Rumble’s
                      22   creator-centric platform has enabled more of these amateur and professional video
                      23   content-creators, media companies, and celebrities to distribute and monetize their
                      24   social videos more than ever before.
                      25            21.      Rumble’s success, however, has been far less than it could and should
                      26   have been as a direct result of Google’s unlawful anticompetitive and monopolistic
                      27   behavior, and coincided with Google’s unlawful rise to monopoly prominence in
                      28   the search engine market as detailed in the recently filed case United States of
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                       1   America et. al. v. Google LLC, Case 1:20-cv-03010, Document No. 1, 10/20/2020
                       2   (D.D.C.) (“the DOJ Complaint” ). Using that ill-gotten prominence, Google
                       3   promoted YouTube to the exclusion of other online video-sharing platforms,
                       4   including specifically Rumble, to obtain and maintain an unlawfully-achieved
                       5   monopoly in that market as well.
                       6            22.      When video content creators upload their videos to Rumble’s platform,
                       7   those videos are then available for viewing on Rumble’s website, generating
                       8   advertising revenue. Unlike most video-sharing platforms, Rumble obtains an
                       9   exclusive license for many of the uploaded videos. Even though Rumble has the
                      10   exclusive license to these videos, because of the monopoly Google has obtained for
                      11   its YouTube platform through its unlawful anti-competitive conduct, Rumble must
                      12   syndicate its exclusive videos to YouTube in order to survive. Notably, other
                      13   video-sharing platforms do not have a large exclusive catalog to syndicate. Rather,
                      14   their revenue depends on non-exclusive licenses for the videos uploaded by their
                      15   creators –the same way YouTube operates. Those other video-sharing platforms
                      16   solely depend on growth from search traffic to their non-exclusively uploaded
                      17   videos, which they will monetize.
                      18            23.      The information and evidence now available to Rumble also exposes
                      19   how Google’s conduct in this regard has not only harmed Rumble, but also other
                      20   similarly situated online video-sharing platforms throughout the world, who have
                      21   been deprived of the views, users, uploads, traffic and brand awareness needed to
                      22   survive and prosper. As testament to this fact, since Google purchased YouTube in
                      23   2006 the number of competitive video-sharing platforms has dwindled dramatically
                      24   as other platforms were not able to survive as a direct result of Googles’unlawful
                      25   and exclusionary conduct.
                      26            24.      Indeed, the extensive unlawful and exclusionary tactics and willful
                      27   misconduct as meticulously detailed in the DOJ Complaint expose the many ways
                      28   in which Google illegally achieved and now maintains monopoly power in the
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                       1   internet search engine relevant market, and equally expose Google’s game plan,
                       2   mindset and goal that have motivated it to do so across the entire expanse of its
                       3   empire, including the relevant market here –online video-sharing platforms –
                       4   which illegal game plan Google has executed to near perfect to actually achieve and
                       5   maintain a monopoly in that market, and thereby to achieve a monopolist’s profits
                       6   and to drive out meaningful competition, to Rumble’s great disadvantage and
                       7   damages.
                       8               GOOGLE’S UNLAWFUL ANTICOMPETITIVE CONDUCT
                       9            25.      Google has willfully and unlawfully created and maintained a
                      10   monopoly in the online video-sharing platform market in at least two ways. First,
                      11   by manipulating the algorithms by which searched-for-video results are listed,
                      12   Google insures that the videos on YouTube are listed first, and that those of its
                      13   competitors, such as Rumble, are listed way down the list on the first page of the
                      14   search results, or not on the first page at all; and second, by pre-installation of the
                      15   YouTube app as the default online video-sharing app on Google smart phones, and
                      16   by entering into anti-competitive, illegal tying agreements with other smartphone
                      17   manufacturers to do the same.
                      18            26.      This first way has been recently confirmed and reported in the Wall
                      19   Street Journal:
                      20                     When choosing the best video clips to promote from
                      21                     around the web, Alphabet Inc.’s Google gives a secret
                      22                     advantage to one source in particular: itself.
                      23
                                             Or, more specifically, its giant online-video service,
                      24                     YouTube.
                      25
                                             Take a clip of basketball star Zion Williamson that the
                      26
                                             National Basketball Association posted online in January,
                      27
                                             when he made his highly anticipated pro debut. The clip
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                       1                     was popular on Facebook Inc., drawing more than one
                       2                     million views and nearly 900 comments as of March. A

                       3                     nearly identical YouTube version of the clip with the same
                                             title was seen about 182,000 times and garnered fewer
                       4
                                             than 400 comments.
                       5
                       6                     But when The Wall Street Journal’s automated bots

                       7                     searched Google for the clip’s title, the YouTube version
                                             featured much more prominently than the Facebook
                       8
                                             version.
                       9
                      10                     The Journal conducted Google searches for a selection of

                      11                     other videos and channels that are available on YouTube
                                             as well as on competitors’platforms. The YouTube
                      12
                                             versions were significantly more prominent in the results
                      13
                                             in the vast majority of cases.
                      14
                      15                     This isn’t by accident.

                      16                     Engineers at Google have made changes that effectively
                      17                     preference YouTube over other video sources, according
                      18                     to people familiar with the matter. Google executives in

                      19                     recent years made decisions to prioritize YouTube on the
                                             first page of search results, in part to drive traffic to
                      20
                                             YouTube rather than to competitors, and also to give
                      21
                                             YouTube more leverage in business deals with content
                      22
                                             providers seeking traffic for their videos, one of those
                      23
                                             people said.
                      24
                                             “All else being equal, YouTube will be first,” the person
                      25
                                             said.
                      26
                      27   Reprinted from article entitled “Searching for Videos? Google Pushes YouTube
                      28   Over Rivals” , The Wall Street Journal, by Sam Schechner, Kirsten Grind and John
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                       1   West, posted online July 14, 2020 at 12:47 pm EDT (“the WSJ Article” ).1
                       2            27.      Similarly, this reprint from the recently released Report by the
                       3   House of Representatives also found that Google has engaged in the
                       4   unlawful anti-competitive self-preferencing activity:
                       5                  Although these four corporations [including Google] differ in
                       6            important ways, studying their business practices has revealed
                       7            common problems. First, each platform now serves as a gatekeeper
                       8            over a key channel of distribution. By controlling access to markets,
                       9            these giants can pick winners and losers throughout our economy.
                      10            They not only wield tremendous power, but they also abuse it by
                      11            charging exorbitant fees, imposing oppressive contract terms, and
                      12            extracting valuable data from the people and businesses that rely on
                      13            them. Second, each platform uses its gatekeeper position to maintain
                      14            its market power. By controlling the infrastructure of the digital age,
                      15            they have surveilled other businesses to identify potential rivals, and
                      16            have ultimately bought out, copied, or cut off their competitive
                      17            threats. And, finally, these firms have abused their role as
                      18            intermediaries to further entrench and expand their dominance.
                      19            Whether through self-preferencing, predatory pricing, or
                      20            exclusionary conduct, the dominant platforms have exploited
                      21            their power in order to become even more dominant.
                      22                  To put it simply, companies that once were scrappy,
                      23            underdog startups that challenged the status quo have become
                      24            the kinds of monopolies we last saw in the era of oil barons and
                      25            railroad tycoons. Although these firms have delivered clear benefits
                      26
                           1
                      27       https://www.wsj.com/articles/google-steers-users-to-youtube-over-rivals-

                      28   11594745232.
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                       1            to society, the dominance of Amazon, Apple, Facebook, and Google
                       2            has come at a price. These firms typically run the marketplace
                       3            while also competing in it— a position that enables them to write
                       4            one set of rules for others, while they play by another, or to
                       5            engage in a form of their own private quasi regulation that is
                       6            unaccountable to anyone but themselves.2
                       7            28.      The House Report also included a section that was especially damning
                       8   as to Google’s conduct at issue here:
                       9                  In July, the Wall Street Journal reported that Google also gives
                      10            preferential treatment to YouTube. Tests conducted by the Journal
                      11            found that searching Google for videos delivered YouTube in results
                      12            much more prominently than competing video providers, even when
                      13            competitor videos had more engagement. Reflecting interviews with
                      14            those familiar with the matter, the piece stated that Google engineers:
                      15                  [M]ade changes that effectively preference YouTube over
                      16            other video sources. Google executives in recent years made
                      17            decisions to prioritize YouTube on the first page of search results,
                      18            in part to drive traffic to YouTube rather than to competitors,
                      19            and also to give YouTube more leverage in business deals with
                      20            content providers seeking traffic for their videos.”
                      21                  In response to Questions for the Record from Subcommittee
                      22
                      23   2
                               Report entitled Investigation of Competition in Digital Markets, Majority Staff
                      24   Report and Recommendations, released on October 6, 2020, by the United States
                      25   Congress, House of Representatives, Subcommittee on Antitrust, Commercial and
                      26   Administrative Law of the Committee on the Judiciary (“the House Report” ), pages
                      27   6-7 (emphasis added).
                      28
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                       1            Chairman David N. Cicilline (D-RI), the company denied that Google
                       2            Search is designed to favor YouTube. Although Google stated that it
                       3            disagreed with the methodology used by the Journal, Google did
                       4            not provide the Subcommittee with any data or internal reports
                       5            that would support its claim.3
                       6            29.      Google did not provide the Subcommittee with any such refuting data
                       7   or internal reports because it could not do so –the statements made in the WSJ
                       8   Article are true, which Rumble has confirmed through its own tests as detailed in
                       9   this Complaint. Significantly, it appears that Google’s denials were part and parcel
                      10   of its ongoing attempt fraudulently to conceal its unlawful antitrust behavior.
                      11            30.      Google has engaged and continues to engage in this unlawful conduct
                      12   which has proximately caused and continues to cause tremendous damage to
                      13   Rumble (and to other online video-sharing platforms as well), to competition and to
                      14   consumers.
                      15            31.      In this regard, the House Report also included this relevant section,
                      16   which addresses one of the ways that Google’s unlawful anti-competitive conduct
                      17   injures its competitors:
                      18                  Numerous market participants noted that Google’s favoring
                      19            of its own sites and demoting those of third parties has
                      20            effectively increased their cost of distribution. Since demoted
                      21            sites can generally only recover traffic through advertising on
                      22            Google, the platform “essentially requires competitors to pay for
                      23            their websites to appear above Google’s own links,” according
                      24            to one market participant. Another business recalled that in 2016
                      25            Google demoted one of its vertical offerings, citing a policy of
                      26            diversifying content. The firm stated that once it was penalized
                      27
                      28   3
                               The House Report, page 191 (emphasis added) (footnotes omitted).
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                       1            in organic rankings, it “could not get an appropriate customer
                       2            service response for months” and ultimately “had to increase
                       3            [marketing spend on Google] to regain lost traffic— a win-win
                       4            for Google but a loss for [our business] and its users.
                       5                  Meanwhile, Google’s own competing vertical “is always
                       6            listed at the top” of search results. The incident highlights
                       7            how demoting rivals can enrich Google in two ways: first,
                       8            through diverting greater traffic and business to its own
                       9            products; and second, through earning ad revenues from the
                      10            penalized sites that are subsequently scrambling to recover
                      11            their search placement. When demoting firms that Google
                      12            views as actual or potential competitive threats, Google is
                      13            effectively raising rivals’costs.4
                      14            32.      The second way Google has unlawfully achieved, expanded,
                      15   maintained and continues to maintain its monopoly in the online video-sharing
                      16   platform market is to ensure that its YouTube app is preinstalled on as many new
                      17   smartphones as possible. This anticompetitive conduct has also been recently
                      18   reported:
                      19                  Google's apps are front-and-center on newer Android phones
                      20            for a reason: Google wants you to use its services on Android,
                      21            and it has contracts in place to that end.
                      22                  According to confidential contracts obtained by The
                      23            Information, phonemakers like Samsung and HTC need to
                      24            include a whole lot of Google-branded widgets and icons to be
                      25            allowed to include Google's Play Store. The requirements in the
                      26            contracts show that Google is demanding cushier placement for
                      27
                           4
                               The House Report, pages 191-192 (emphasis added) (footnotes omitted).
                      28
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                       1            its apps and services than it used to.
                       2                  One requirement: Phones need to show a "Google" icon that
                       3            opens to a collection of 13 apps. Some are genuinely useful,
                       4            like YouTube, Google Maps, Google Drive, Gmail, and Google
                       5            Chrome.5
                       6            33.      This unlawful anticompetitive conduct has also been detailed in the
                       7   DOJ Complaint, paragraphs 133 to 135 (emphasis added):
                       8                  133.     Google uses preinstallation agreements— MADAs— to
                       9            ensure that its entire suite of search-related products is given
                      10            premium placement on Android GMS devices. Consumers
                      11            naturally and regularly turn to these prominently placed search
                      12            access points to conduct searches. Preinstallation agreements also
                      13            reinforce Google’s anti-forking requirements, either by including an
                      14            anti-forking clause of their own or, more commonly, requiring device
                      15            manufacturers to be signatories to an anti-forking agreement.
                      16                  134.     If a manufacturer wants even one of Google’s key apps
                      17            and APIs, the device must be preloaded with a bundle of other
                      18            Google apps selected by Google. The six “core” apps are Google
                      19            Play, Chrome, Google’s search app, Gmail, Maps, and YouTube.
                      20            Manufacturers must preinstall the core apps in a manner that prevents
                      21            the consumer from deleting them, regardless of whether the
                      22            consumer wants them. These preinstallation agreements cover
                      23            almost all Android devices sold in the United States.
                      24
                      25
                           5
                               Article entitled Why Android Phones Now Come With So Many More Google
                      26
                      27   Apps - (Kate Knibbs, published 9-26-2014) (https://gizmodo.com/why-android-

                      28   phones-now-come-with-so-many-more-google-ap-1639529342).
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                       1                  135.     Google’s preinstallation agreements effectuate a tie, that
                       2            is, they condition the distribution of Google Play and GPS to the
                       3            distribution of these other apps. This tie reinforces Google’s
                       4            monopolies. The preinstallation agreements provide Android device
                       5            manufacturers an all-or-nothing choice: if a manufacturer wants
                       6            Google Play or GPS, then the manufacturer must also preinstall, and
                       7            in some cases give premium placement to, an entire suite of Google
                       8            apps, including Google’s search products. The forced
                       9            preinstallation of Google’s apps deters manufacturers from
                      10            preinstalling those of competitors. This forecloses distribution
                      11            opportunities to rival general search engines, protecting Google’s
                      12            monopolies.
                      13            34.      This conduct by Google also injures consumers as well as competition
                      14   and its competitors such as Rumble. The affected consumers here are the people
                      15   who search for and view videos on video sharing platforms such as YouTube and
                      16   Rumble; and more specifically those who upload their own videos to these
                      17   platforms. By uploading to Rumble’s platform, the users can receive a portion of
                      18   the revenue that Rumble obtains my monetizing the content creator’s video. A
                      19   video viewed on Rumble’s platform generates much more revenue per CPM (1000
                      20   views) than if viewed on the YouTube platform. Because of its unlawfully
                      21   achieved monopoly in the video-sharing market, Google has been able to force
                      22   competitors, such as Rumble, to post their videos to YouTube in order to survive.
                      23   Google’s monopoly and monopoly power, however, have allowed Google to pay to
                      24   Rumble (and content owners) a small portion of the ad revenue generated on videos
                      25   on YouTube (on average $.048 per 1000 views of Rumble Videos), and to allow
                      26   Google to retain the large majority of that revenue for itself.
                      27            35.      In contrast, on average, Rumble receives $20 or more per CPM of one
                      28   of its videos if viewed on the Rumble platform. Therefore, if the Google search
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                       1   page diverts traffic to the YouTube platform instead of Rumble’s, Rumble and the
                       2   content creator receive much less revenue. This has also caused and is causing
                       3   direct injury to competition (many video-sharing platforms who were active online
                       4   before Google purchased YouTube no longer exist), to competitors (such as
                       5   Rumble), and to consumers, who upload their original content videos to Rumble’s
                       6   platform in return for a portion of the ad revenue Rumble receives from views of
                       7   that video.
                       8            36.      The loss on initial views is only a part of the damages caused to
                       9   Rumble and consumers. Rumble also has evidence that a percentage of users who
                      10   find Rumble through online searching for videos subsequently become uploaders of
                      11   their own videos to the Rumble platform, and thereafter receive revenue. By
                      12   rigging its search algorithms to remove Rumble from the first page search results,
                      13   by forcing smart phone manufacturers to preinstall the YouTube app on their
                      14   phones, and thereby directing users away from Rumble, not only is Rumble
                      15   deprived of the added revenue, but the many diverted users are deprived of that
                      16   revenue. This is also direct injury to the consumer.
                      17            37.      Rumble (and in turn its content creators) have been tremendously
                      18   damaged and continues to be damaged by Google’s willfully unlawful conduct.
                      19   Indeed, Rumble believes that at trial it will seek and obtain an award well in excess
                      20   of $2,000,000,000 (Two Billion Dollars) before trebling, and that it will also
                      21   receive an award of its attorney fees and expenses.
                      22              THE PARTIES, JURISDICTION, VENUE, AND COMMERCE
                      23            38.      Plaintiff Rumble is a Canadian corporation, with its principal place of
                      24   business at 218 Adelaide Street West, Suite 400, Toronto, Ontario, M5H1W7.
                      25            39.      Google LLC is a limited liability company organized and existing
                      26   under the laws of the State of Delaware, and is headquartered in Mountain View,
                      27   California. The sole member of Google LLC is believed to be XXVI Holdings,
                      28   Inc., a Delaware corporation with its principal place of business in Mountain View,
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                       1   California. Google wholly owns YouTube LLC, a limited liability company
                       2   organized and existing under the laws of the State of Delaware, and is also
                       3   headquartered in Mountain View, California. Google LLC is wholly owned by
                       4   Alphabet Inc., a publicly traded company incorporated and existing under the laws
                       5   of the State of Delaware and headquartered in Mountain View, California.
                       6             40.     Google engages in, and its activities substantially affect, interstate
                       7   trade and commerce. Google provides a range of products and services that are
                       8   marketed, distributed, and offered to consumers throughout the United States,
                       9   across state lines, and internationally. It is thus engaged in interstate commerce.
                      10             41.     This Court has personal jurisdiction over Google LLC as it is
                      11   headquartered in this District.
                      12             42.     Rumble brings this action pursuant to Sections 4 and 16 the Clayton
                      13   Act, 15 U.S.C. §§ 4 and16, to prevent and restrain Google’s violations of Section 1
                      14   and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2, and to obtain damages and other
                      15   relief.
                      16             43.     This Court has subject matter jurisdiction over Plaintiff’s federal
                      17   antitrust claims pursuant to the Clayton Antitrust Act, 15 U.S.C. § 26, and 28
                      18   U.S.C. §§ 1331, 1337(a), and 1345, and pursuant to 28 U.S.C. § 1332.
                      19             44.     Venue is proper in this District under Section 22 of the Clayton Act,
                      20   15 U.S.C. § 22, and under 28 U.S.C. § 1391 because Google transacts business and
                      21   is found within this District.
                      22             45.     Rumble is ignorant of all of the corporate relationships, responsibilities
                      23   and decision-making processes within, between and among Google, Alphabet and
                      24   YouTube, and is informed and believed that from time to time there have been
                      25   corporate realignments among and between them. Rumble therefore reserves the
                      26   right to add defendants or to substitute the current correct name of a defendant
                      27   herein as that information is obtained through discovery.
                      28   ///
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                       1                                            YOUTUBE
                       2            46.      YouTube was the brain child of three former PayPal employees, who,
                       3   according to published reports, were motivated by their inability to find certain
                       4   videos online. According to some reports, one of the sought-but-not-found videos
                       5   was of the infamous “wardrobe malfunction” involving Justin Timberlake and Janet
                       6   Jackson during their 2004 NFL Super Bowl half-time performance.
                       7            47.       The website www.youtube.com became active on February 14, 2005.
                       8   It was not, however, the only online video-sharing platform at that time. Vimeo,
                       9   for example, (www.vimeo.com) was active then (having launched in November
                      10   2004), and many more became active soon thereafter. It has been estimated that
                      11   soon there were 100’s if not 1000’s of active online video-sharing platforms such as
                      12   zippyvideos.com, break.com, dailymotion.com, Google Video, and metacafe.com,
                      13   to name a few. All of that was about to change, however, and that change began
                      14   with Google’s acquisition of YouTube in November, 2006.
                      15            GOOGLE’S GAME-CHANGING ACQUISITION OF YOUTUBE
                      16            48.      Google saw the rapidly rising popularity of online video-sharing
                      17   platforms, and quickly realized that there could be a synergistic relationship
                      18   between Google’s search engine dominance and the growing potential for a linked
                      19   video-sharing platform.
                      20            49.      Google paid a whopping $1.65 Billion for YouTube, even though
                      21   YouTube had been active for less than two years and had yet to come close to
                      22   turning a profit.6
                      23            50.      Google, in its pursuit of global internet dominance and the vast riches
                      24   that would produce, realized that people would use its search engine to search for
                      25
                      26   6
                               As reported by, among others, NBC News, Oct. 9, 2006, 8:54 AM PDT, Source:
                      27   The Associated Press (https://www.nbcnews.com/id/wbna15196982).
                      28
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                       1   online videos. Google also knew that online searchers pay most attention and most
                       2   often click on the first or second listing/link on a Google search result page, so it
                       3   would be important that any Google search result for online videos list and link to
                       4   YouTube at the very top of the search results page, and push competitive platforms
                       5   to the bottom of the page (“below the fold” ) or even onto the rarely-visited second
                       6   page. Google also realized that by making the YouTube app the default video-
                       7   sharing app on its smartphone, and requiring other smartphone manufacturers to do
                       8   the same, it could literally corner the market through its unlawful conduct.
                       9            51.      And Google has realized a monopolist’s profits for it YouTube
                      10   subsidiary. Indeed, YouTube reported $15.1 Billion in revenue for 2019, of which
                      11   $4.7 Billion was earned in the 4th quarter of 2019.7
                      12                                 THE RELEVANT MARKETS
                      13            52.      The market for online video-sharing platforms that are accessible in
                      14   the United States and globally is a relevant antitrust market. These platforms allow
                      15   content creators and other consumers to upload, view and download video content.
                      16            53.      Such platforms are unique in that there is no other viable way for video
                      17   creators to host, share, create channels, monetize, and distribute their content across
                      18   the Internet from a single centralized video platform. Consumers use these
                      19   platforms for all of these purposes in addition to simple enjoyment.
                      20            54.      The fact that Google paid $1.65 Billion for YouTube within 2 years
                      21   after its launch attests to the unique service provided by these platforms in this
                      22   relevant market.
                      23            55.      Other sources of this video content are not reasonable substitutes.
                      24   Offline and other online resources, such as books, publisher websites, social media
                      25
                           7
                               Article entitled YouTube Reveals Revenue for First Time: $15.1 B in 2019 (Alex
                      26
                      27   Weprin, posted 2/3/2020) (https://www.hollywoodreporter.com/news/youtube-

                      28   revenue-revealed-video-site-did-151b-2019-ad-revenue-1276004).
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                       1   platforms, and other internet service providers, such as Amazon Prime Video,
                       2   Netflix, or Hulu, do not and cannot offer users and content creators the same
                       3   service or convenience. Although Netflix, Hulu and Amazon Prime Video contain
                       4   video content, they are not video-sharing platforms where users share videos or
                       5   where users can upload videos. They are not a reasonable or acceptable substitute.
                       6   Apps like TikTok, Instagram and Facebook do not provide the same type of video
                       7   sharing services, and do not have nearly the same consumption size as YouTube,
                       8   which is evidenced by bandwidth consumption. Thus, there are no reasonable
                       9   substitutes for online video-sharing platforms such as Rumble and YouTube.
                      10            56.      The United States is a separate relevant geographic market for online
                      11   video-sharing platforms and services. Google offers users in the United States and
                      12   globally a locally-hosted domain website to search for and with a click on the
                      13   search results link, to view online video content. Therefore, the United States is a
                      14   separate relevant antitrust geographic market.
                      15            57.       There are significant barriers to entry in the online video-sharing
                      16   platform business. The creation, maintenance, and growth of such a platform
                      17   requires a significant capital investment, highly complex technology, access to
                      18   effective distribution, and, of vital importance, adequate scale, traffic, brand
                      19   awareness, monetization and visibility.
                      20            58.      Thus, the market for consumers in the United States and
                      21   globally for online video-sharing platforms are the relevant markets for
                      22   antitrust purposes and for purposes of this lawsuit. This is confirmed by the
                      23   fact that third parties routinely refer to online video-sharing platforms for the
                      24   purposes of measuring and reporting size of and market share in that market.
                      25   ///
                      26   ///
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                       1   See, e.g.:
                       2            https://markets.businessinsider.com/news/stocks/online-video-
                       3            platforms-market-size-worth-18-7-billion-by-2027-grand-view-
                       4            research-inc-1029703313
                       5
                                    https://www.alliedmarketresearch.com/online-video-platform-market
                       6
                       7            https://www.globenewswire.com/news-release/2020/09/23/

                       8            2097738/0/en/Online-Video-Platform-Market-to-hit-USD-3-Bn-by-

                       9            2026-Global-Market-Insights-Inc.html

                      10            https://www.valuemarketresearch.com/report/online-video-platform-
                      11            market
                      12            59.      Scale is also a significant barrier to entry in the relevant market. Scale
                      13   affects a video-sharing platform’s ability to attract subscribers, content creators and
                      14   advertising and licensing revenue. The scale needed to successfully compete today
                      15   is greater than ever. Google’s anticompetitive conduct effectively eliminates rivals’
                      16   ability to build the scale necessary to compete. This is evident from the fact that
                      17   there were 100’s if not 1000’s of video platforms before Google’s purchase of
                      18   YouTube and its anti-competitive conduct began to bear fruit, and approximately
                      19   10 or less today of any significance.
                      20            60.      It has been reported that Google’s (i.e., YouTube’s) share of the
                      21   relevant market is now greater than 75%. This has been acquired by Google’s
                      22   unlawful conduct as described above, and that same conduct is being used to
                      23   maintain that monopoly share, and to reap a monopolist’s profits by harming,
                      24   competition, competitors and consumers. Google/YouTube’s large and durable
                      25   market share and the significant barriers to entry in online video-sharing platforms
                      26   demonstrate Google’s unlawfully obtained and maintained monopoly power the
                      27   relevant market.
                      28   ///
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                       1                IMPORTANCE OF SCALE IN ONLINE VIDEO-SHARING
                       2            61.      Just as scale is of critical importance to competition among general
                       3   search engines for consumers and search advertisers, scale is equally important to
                       4   online video-sharing platforms. Google has long recognized that without adequate
                       5   scale its rivals cannot compete with its online business, and applied that same logic,
                       6   game plan and goal with respect to its YouTube business.
                       7            62.      Greater scale expands the audience reach of an online video-sharing
                       8   platform, and generates more users who register with the platform, which in turn
                       9   generates more uploaded videos, which in turn generates more views, which in turn
                      10   generates greater revenue and profits.
                      11            63.      Google’s unlawful and anticompetitive conduct as described in this
                      12   complaint has greatly enlarged and continues to enlarge YouTube’s scale and
                      13   greatly diminished and continues to diminish Rumble’s scale, which has had an
                      14   ongoing and increasing adverse effect on competition and on Rumble’s revenue.
                      15                           GRAPHIC EVIDENCE OF HOW GOOGLE
                      16                UNFAIRLY STACKS THE DECK IN YOUTUBE’S FAVOR
                      17            64.      Paragraphs 2 to 10 above are incorporated herein by reference.
                      18            65.      In addition to what is shown in those paragraphs, shown below in
                      19   Figure 3 are the Google Search results for the search term “funny dogs,” in which,
                      20   as will be noted, every single one of the listings is a YouTube listing (all nine of the
                      21   listings/links are to YouTube, including one that is four years old), even though
                      22   Rumble has a tremendous number of “funny dog” videos available on its platform.
                      23   Clearly, Google is giving preference to its own YouTube videos over those of
                      24   Rumble (and other platforms), and making sure that Rumble is listed “below the
                      25   fold” (actually, here, not at all) to ensure that the YouTube versions of the video are
                      26   ///
                      27   ///
                      28   ///
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                       1   selected by the vast majority (if not all) of the people looking for “funny dog”
                       2   videos.
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                                                                    Figure 3
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                     18             66.      As shown in Figure 4 below, even when the Google search term
                     19    entered was “funny dogs on rumble,” the Google search results were all YouTube
                     20    videos in the all-important “above the fold” top portion of the Google search
                     21    results:8
                     22
                           8
                               It is well known and an accepted fact in the industry that online searchers will pay
                     23
                           most attention to the first or second-listed search results (the portion “above the
                     24
                           fold” to use the newspaper term) and will rarely click on links that are “below the
                     25
                           fold.” This was also confirmed in the House Report at page 188: “However,
                     26
                     27    Google continues to give its service top placement, occupying close to 100% of the

                     28    above-the-fold mobile search results page and around 25% of desktops.”
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                                                                      Figure 4
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                                    67.      There is, and can be, no valid business purpose, and no benefit to
                      22
                           online searchers, for Google to rig its search algorithms to avoid listing on its
                      23
                           search page a link to the Rumble platform, and instead listing only YouTube links.
                      24
                           For example, if a video-searcher is searching for “funny dogs on rumble” (emphasis
                      25
                           added), listing links to “funny dogs on rumble” would be most beneficial to that
                      26
                           searcher and most consistent with the search. But, as shown, Google does not do
                      27
                           that, and lists only links to YouTube. The clear business purpose here is not only
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                       1   invalid, it is unlawful –to divert as much traffic as possible to YouTube so that it
                       2   maintains its monopoly in the relevant market, and to secure for YouTube (and thus
                       3   for Google) the vast majority of the advertising revenue from views of that video.
                       4            68.      Rumble has conducted tests to determine if the Google algorithms for
                       5   video searches in fact self-preference YouTube, even when Rumble is the exclusive
                       6   holder and originator of the Rumble Video, as described below:
                       7                     a.    When Rumble is the original source of a Rumble Video and is
                       8            also the first reported source, once that video is “live” on the Rumble
                       9            platform, Rumble can decide and control when and to whom to syndicate that
                      10            video, and in what order.
                      11                     b.    Rumble also inserts its own metadata into the video that
                      12            identifies it as a Rumble Video for which Rumble is the originating source.
                      13                     c.    Once the Rumble Video is “live” on the Rumble platform with
                      14            the Rumble-inserted metadata, Rumble alerts Google’s search engine as to
                      15            the existence of the video, that it is an original-content Rumble Video, and
                      16            that is it available to be viewed on the Rumble.com website.
                      17                     d.    At that point, Rumble syndicates that Rumble Video to its
                      18            syndication partners.
                      19                     e.    Suspecting, as a result of the WSJ Article, that Google’s search
                      20            algorithms for online videos give unfair preference to YouTube, Rumble has
                      21            conducted several tests where for some tests, it syndicates the video to its
                      22            partners simultaneously, and for other tests, it has syndicated the Rumble
                      23            Video at different times, with YouTube receiving it last.
                      24                     f.    What Rumble discovered was that when the Rumble Video was
                      25            simultaneously syndicated to all partners, YouTube was preferenced by
                      26            Google’s search engine such that YouTube was the first result, usually
                      27            followed by MSN, Yahoo, and then Rumble. This occurred despite the fact
                      28            that Google management and Google itself has gone on record emphasizing
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                       1            that original sourced reporting and content will always receive preferential
                       2            treatment by its search engine algorithms.9 Once again, Google’s statements
                       3            are belied by its action. This preferential treatment for YouTube occurred
                       4            despite all online locations referencing Rumble as the source for the video,
                       5            linking back to Rumble’s official content URL, and in some instances (such
                       6            as the MSN listing), actually providing a canonical URL back to Rumble.
                       7            This proves that Google’s listing first of the YouTube version of the video
                       8            was intentional, and not some inadvertent mistake.
                       9                     h.    In order to further rule out the possibility that YouTube
                      10            somehow believed it received the URL for the Rumble Video first before
                      11            anyone else and that was why the Google search engine listed the YouTube
                      12            first due to its integration with YouTube, for other tests, Rumble made sure
                      13            that the URL for the video was first released to MSN and Yahoo, and only
                      14            released to YouTube several hours after the video was released to MSN and
                      15            Yahoo.
                      16                     i.    Even in this timed release situation, YouTube was again listed
                      17            first by the Google search engine, followed by MSN, then Yahoo, and only
                      18            then is Rumble listed –usually below the fold. There is no way, other than
                      19            through Google’s manipulation of the search results to favor YouTube, for
                      20            Rumble, as the original source of the content and owner of the exclusive
                      21            rights to the video, not to be listed first, and YouTube not listed last. No
                      22            matter how hard Rumble tried to release the videos in these tests in a way to
                      23            ensure that YouTube would not be listed before Rumble and the other video-
                      24            sharing platforms who received the video before YouTube, YouTube was
                      25
                           9
                               See, Article entitled Elevating original reporting in Search, by Richard Gingras,
                      26
                      27   Google VP News, published September 12, 2019, on “Google The Keyword” -

                      28   https://www.blog.google/products/search/original-reporting/.
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                       1            always first.
                       2                     j.     Figure 5 below shows such a result in which Rumble is the
                       3            original source of the released Video, and Rumble released it first to MSN
                       4            and Yahoo, and then later to YouTube. According to Google’s own
                       5            duplicate content and original sourced reporting best practices which it
                       6            purports to follow, the Rumble video should have been listed first. But as
                       7            shown below in Figure 5, YouTube is listed first, even though all of the other
                       8            sites received the video before YouTube, and all of the sites, including
                       9            YouTube, acknowledge Rumble as the original source of the video:
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                                                                     Figure 5
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                       1            69.      As the House Report and the DOJ Complaint explain in detail, this
                       2   unfair, unlawful anticompetitive behavior by Google greatly benefits
                       3   Google/YouTube, and greatly damages and continues to damage Rumble,
                       4   competition (e.g., other online video-sharing platforms), as well as consumers (e.g.,
                       5   those who upload or might want to upload their videos to Rumble’s platform).
                       6            70.      The search examples set forth above illustrate how Google’s rigged
                       7   search algorithms favor the YouTube platform over Rumble involving specific
                       8   videos and specific searches that relate to those videos, even to the point when a
                       9   search is looking specifically for videos “on rumble.” Google also advantages
                     10    YouTube over Rumble or other competitors as a consistent and conscious practice,
                     11    no matter the video or the search terms. And this is true even if a Rumble video is
                     12    not uploaded to YouTube. Rumble and consumers (e.g., content creators) are
                     13    disadvantaged, and competition is harmed, in the defined market because Google
                     14    provides self-preferencing search advantages to its wholly-owned YouTube
                     15    platform as a part of its scheme to maintain its monopoly power, and to reap a
                     16    monopolist’s financial rewards.
                     17                                     RUMBLE’S DAMAGES
                     18             71.      Figure 6 below is a reprint of information that Google has provided to
                     19    Rumble as part of Rumble’s account with YouTube:
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                                                                      Figure 6
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                       1            72.      This shows that Rumble Videos for which Rumble is the original
                       2   source and exclusive rights holder have received more than 9.3 Billion views
                       3   globally through YouTube, for which Rumble has received revenue from Google in
                       4   the amount of $4,345,883.76.
                       5            73.      The usual metrics for determining revenue for online viewing of
                       6   videos is Revenue Per Mille (RPM - or revenue per 1000 views), and Cost Per
                       7   Mille (CPM - cost per 1000 views). Using either metric, Rumble’s average revenue
                       8   received per 1000 views through Google is about $0.48 (forty-eight cents).
                       9            74.      For views on Rumble’s website, the Gross CPM is approximately
                      10   $20/CPM, globally. Had Rumble received its average global CPM on those 9.3
                      11   billion views instead of receiving revenue of $4.3 million, Rumble would have
                      12   received additional revenue of $180 million. But this is just a portion of the
                      13   damages proximately caused and continuing to be caused to Rumble and its content
                      14   creators by Google’s unlawful anticompetitive conduct.
                      15            75.      According to industry reports, on average every visitor to YouTube
                      16   views 11 videos during that single visit. Had Rumble received those 9.3 billion
                      17   views on Rumble.com, Rumble would have had an additional 93 billion video
                      18   views, on top of the 9.3 billion views, which translates to damages of $1.98 billion
                      19   at a CPM of $20.
                      20            76.      Rumble posts videos to YouTube because it must in order to survive.
                      21   This is a direct result of Google’s unlawfully self-preferencing YouTube, and
                      22   rigging its search algorithms to push links to Rumble’s platform “below the fold” or
                      23   off the “front page” altogether. Because of the Google/YouTube monopoly,
                      24   Rumble has had not viable option but to “play ball” with Google/YouTube.
                      25            77.      A significant source of users and hence revenue for Rumble’s
                      26   platform comes from those consumers who “find” Rumble’s platform and video
                      27   ///
                      28   ///
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                       1   content through online searching, primarily through Google, as these graphics
                       2   (Figures 7 and 8 from the DOJ Complaint) clearly show Google’s dominance and
                       3   monopoly power in online searching:
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                      12            78.      Those consumers who “find” Rumble through an online Google search
                      13   are much more likely to sign up (or register) with Rumble than those who “find”
                      14   Rumble through a social media site, such as Facebook. Many of those users who
                      15   register with Rumble will also begin to upload videos to the Rumble platform,
                      16   thereby increasing Rumble’s scale, video content, brand awareness, value and
                      17   revenue.
                      18            79.      Since 2013 when Rumble first launched, approximately 375 million
                      19   users visited Rumble’s website, according to Google Analytics.
                      20            80.      Of those, the largest majority, however, approximately 215 million of
                      21   them, “found” Rumble through the social media site Facebook, not Google.
                      22   According to Google Analytics, these Facebook users generated approximately,
                      23   37,000 uploaded videos to rumble.com.
                      24            81.      Since 2013, Google search traffic accounted for only roughly 12
                      25   million users on Rumble out of the 375 million reported by Google Analytics. This
                      26   search traffic in turn accounted for roughly 238,000 uploaded videos to
                      27   rumble.com, yielding a performance of roughly 115 times better than did the traffic
                      28   from Facebook. For every 12 million users that Rumble lost to YouTube due to
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                       1   Google’s anticompetitive and monopolist behavior, Rumble would have realized
                       2   roughly 238,000 new video uploads to rumble.com for Rumble to monetize and
                       3   generate revenue for Rumble and its content creators.
                       4            82.      But for the unlawful and anticompetitive, monopolistic conduct of
                       5   Google, many more potential Rumble users would have “found” Rumble through a
                       6   Google search, potentially as many as 9.3 billion according to YouTube analytics.
                       7   However, by always giving preference to YouTube and relegating Rumble to
                       8   below-the-fold locations in any search result for online videos, Google effectively
                       9   and purposefully directed that traffic away from Rumble to YouTube, thereby
                      10   depriving Rumble of those additional users, video content and revenue. This
                      11   unlawful conduct regarding Google’s search results has been exacerbated by its
                      12   tying arrangements with Android-based smart phone manufacturers, who are
                      13   required to include the YouTube app on their phones. Given that much online
                      14   searching for videos is done on the searcher’s smartphone, this unlawful conduct is
                      15   a significant factor in Google’s achieving and maintaining monopoly power in the
                      16   online video-sharing market.
                      17            83.      Rumble had roughly 1.4 million video uploads to its platform, which
                      18   generated 9.3 billion views on YouTube, and roughly $200 million of lost ad
                      19   revenue. If all 9.3 billion viewers had landed on Rumble’s website instead of
                      20   YouTube’s, then Rumble would have generated an additional 184 million more
                      21   video uploads.
                      22            84.      Based upon Google and YouTube analytics, Rumble incurred damages
                      23   on its 9.3 billion views that Google instead directed to YouTube with its unfair
                      24   YouTube-preferencing algorithms and tying arrangements. Rumble lost a huge
                      25   amount of revenue on the 9.3 billion views that Google wrongfully directed to
                      26   YouTube with its unfair YouTube-preferencing algorithms. If even a portion of
                      27   those 9.3 billion views had occurred on Rumble’s website instead of YouTube, that
                      28   would have generated well in excess of 100 million additional video uploads to the
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                       1   Rumble platform, which in turn would have generated billions of more views on the
                       2   Rumble platform, and massive amounts of additional revenue for Rumble and its
                       3   content creators. If those 9.3 billion views had all occurred on Rumble’s website, it
                       4   would have generated an additional 184 million video uploads. Those additional
                       5   184 million videos would have generated roughly 1.2 trillion additional views on
                       6   Rumble’s platform. Those additional uploads and views would have produced
                       7   tremendous additional revenue to Rumble, and in turn to the video content creators.
                       8            85.      In addition to Rumble’s exclusive catalog of video content, Rumble
                       9   also incurred damages on its non-exclusive catalog, which is far larger than its
                      10   exclusive catalog.
                      11            86.      Rumble reasonably believes that its damages as will be proven at trial
                      12   will greatly exceed $2,000,000,000, before trebling or attorney fees and costs.
                      13                                       CLAIMS FOR RELIEF
                      14               COUNT ONE: Maintaining Monopoly of Online Video-Sharing
                      15                           Platform Services in Violation of Sherman Act § 2
                      16            87.      Rumble incorporates the allegations of the foregoing paragraphs as
                      17   though fully set forth here.
                      18            88.      Google’s conduct violates § 2 of the Sherman Act, which prohibits the
                      19   “monopoliz[ation of] any part of the trade or commerce among the several States,
                      20   or with foreign nations.” 15 U.S.C. § 2.
                      21            89.      Online video-sharing platforms in the United States and globally is a
                      22   relevant antitrust market and Google has obtained and maintains monopoly power
                      23   in that market, and has done so by leveraging its monopoly power in the search
                      24   engine market.
                      25            90.      Google has willfully maintained and abused its monopoly power in the
                      26   relevant market here through anticompetitive and exclusionary conduct as set forth
                      27   above, which include rigging its search engine algorithms such that YouTube
                      28   videos will always be listed first in the search results, and by providing pre-
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                       1   installation and prominent placement of Google’s YouTube apps on its own and
                       2   requiring other smart phone manufacturers to do the same.
                       3            91.      Google’s exclusionary conduct has foreclosed a substantial share of
                       4   the online video-sharing platform market.
                       5            92.      Google’s anticompetitive acts have had harmful effects on competition
                       6   and consumers as set forth above.
                       7            93.      The anticompetitive effects of Google’s exclusionary conduct and
                       8   agreements outweigh any procompetitive benefits in this market, or that can be
                       9   achieved through less restrictive means.
                      10            94.      Google’s anticompetitive and exclusionary practices violate Section 2
                      11   of the Sherman Act, 15 U.S.C. § 2.
                      12            95.      Rumble (and its content creators) have been and continue to be
                      13   damaged by Google’s anticompetitive and exclusionary practices, and that damage
                      14   has been proximately caused by Google’s anticompetitive and exclusionary
                      15   practices.
                      16            96.      Rumble is therefore entitled to compensatory damages, trebled, and
                      17   Rumble should also be awarded its attorney fees and costs, pursuant to Section 15
                      18   of the Clayton Act.
                      19                           COUNT TWO: Maintaining Tying Arrangements
                      20                                  in Violation of Sherman Act § 1
                      21            97.      Rumble incorporates the allegations of the foregoing paragraphs as
                      22   though fully set forth here
                      23            98.      Google’s conduct violates §1 of the Sherman Act, which prohibits
                      24   “[e]very contract, combination in the form of trust or otherwise, or conspiracy, in
                      25   restraint of trade or commerce among the several States, or with foreign nations.”
                      26   15 U.S.C. § 1.
                      27            99.      The YouTube platform app is a service that is separate from and not
                      28   reliant on the Android operating system that Google licenses to various smartphone
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                       1   and tablet manufacturers. Hence the YouTube platform app and the Android
                       2   operating system comprise separate goods and service.
                       3            100. On information and belief, Google forces certain smartphone and
                       4   tablet manufacturers to pre-install the YouTube app on their smartphones and
                       5   tablets in order also to obtain a license to use the Android operating system, such
                       6   that acquisition and use of the one is conditioned upon acquisition and use of the
                       7   other.
                       8            101. Google has more than sufficient power in the market for the Android
                       9   operating system in order to impose the illegal tying arrangement upon customers
                      10   for that operating system. Upon information and belief, more than 80% of all smart
                      11   phones sold in the United States, year in and year out, use the Android operating
                      12   system.
                      13            102. A not insubstantial amount of interstate commerce in the tied product
                      14   market is affected in that sales of smart phone and tablets in the United States using
                      15   the Android operating system are massive. Upon information and belief, sales of
                      16   smartphones in the U.S. in 2019 amount to approximately 80 Billion dollars.
                      17            103. Google’s anticompetitive and exclusionary practices violate Section 1
                      18   of the Sherman Act, 15 U.S.C. § 1.
                      19            104. Rumble (and consumer; e.g., its content creators) have been and
                      20   continue to be damaged by Google’s anticompetitive and exclusionary practices,
                      21   and that damage has been proximately caused by Google’s anticompetitive and
                      22   exclusionary practices.
                      23            105. Rumble is therefore entitled to compensatory damage, trebled, and
                      24   Rumble should also be awarded its attorney fees and costs, pursuant to Section 15
                      25   of the Clayton Act.
                      26                                    PRAYER FOR RELIEF
                      27            WHEREFORE, Rumble prays for judgment against Google as follows:
                      28            1.       for compensatory damages according to proof, and that those damages
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                       1   be trebled;
                       2            2.       that Rumble be awarded its attorneys’fees and costs;
                       3            3.       that Google and its subsidiaries, dba’s, divisions, affiliates, parents,
                       4   successors, assigns, officers, agents, representatives, servants, and employees, and
                       5   all persons in active concert or participation with them or any of them, be
                       6   preliminarily and permanently enjoined from the unlawful anticompetitive conduct
                       7   as set forth above; and
                       8            4.       that Rumble have such other and further relief as this Court deems just
                       9   and proper.
                      10                                                Respectfully submitted,
                      11   Dated: January 11, 2021                       BURKE, WILLIAMS & SORENSEN, LLP
                      12
                      13                                                 By: /s/ Robert W. Dickerson Jr.
                                                                              Robert W. Dickerson, Jr.
                      14
                                                                         Attorneys for Plaintiff
                      15                                                 RUMBLE, INC.
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                       1                                       DEMAND FOR JURY
                       2            Plaintiff Rumble hereby requests a trial by jury for all issues properly
                       3   submitted to a jury.
                       4                                             Respectfully submitted,
                       5   Dated: January 11, 2021                    BURKE, WILLIAMS & SORENSEN, LLP
                       6
                       7                                              By: /s/ Robert W. Dickerson, Jr.
                                                                          Robert W. Dickerson, Jr.
                       8
                                                                      Attorneys for Plaintiff
                       9                                              RUMBLE, INC.
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